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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                              No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




  DEFENDANT’S MOTION TO CHANGE PRETRIAL DETENTION FACILITIES IN
                        ADVANCE OF TRIAL


       Roman Sterlingov, by and through undersigned counsel, moves this Court to enter an

Order mandating that he be moved from the Washington D.C. Central Detention Facility

(“CDF”) to the adjacent Washington D.C. Correctional Treatment Facility (“CTF”) in advance of

his trial, currently scheduled to begin February 12, 2024.

                                          ARGUMENT

       Mr. Sterlingov cannot effectively prepare for trial while detained at CDF. He has limited

access to a computer and has not been able to fully review discovery because of the jail’s

limitation on his computer access. Upon information and belief, CDF only grants pretrial inmates

access to a computer in two-week intervals. Once Mr. Sterlingov’s two-week time period with a

laptop concludes, he is prevented from accessing a computer until one becomes available again.

While Mr. Sterlingov most recent access to a computer began on or about January 20, 2024,

CDF is scheduled to take away his computer access on February 3, 2024. At present, it does not

appear likely that Mr. Sterlingov will have continuous access to discovery during the trial. This

will impair Mr. Sterlingov’s ability to meaningfully participate in his defense.


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       Furthermore, upon information and belief, the conditions at CDF are below federal

standards and physically and mentally impair Mr. Sterlingov prior to his anticipated month-long

trial. Inmates at CDF regularly smoke cigarettes inside the facility and the entire facility smells

of cigarette smoke. Mr. Sterlingov does not smoke, and the smoke in the air irritates his

respiratory system. Upon information and belief, the cells at CTF have fresher air and are not

polluted with cigarette smoke.

       Upon information and belief, at CDF Mr. Sterlingov has been prevented from

maintaining his physical appearance and personal hygiene. CDF limits inmates’ access to

haircuts and shaving. Mr. Sterlingov has informed Defense Counsel he has extremely irregular

access to shaving and haircuts and has regularly gone over six-week intervals without either. It is

important that Mr. Sterlingov have regular access to haircuts and shaving leading up to and

during trial so that he can present himself in a clean and presentable state to the jury. Upon

information and belief, haircuts and shaving are substantially more accessible at the adjacent

CTF.

       Upon information and belief, at CDF, Mr. Sterlingov has been deprived of sleep due to

the noise from disruptive inmates, noisy fans and loud televisions that regularly remain on until 4

– 5 a.m. Upon information and belief, CTF affords inmates a calmer, quieter environment in

which to prepare for trial.

       Upon information and belief, at CDF, Mr. Sterlingov has been deprived of vitamins and

medication. The sub-optimal medical services seem designed only to address ongoing medical

emergencies, and not promote preventative or rehabilitative healthcare. Mr. Sterlingov requests

access to cheap, simple non-pharmaceutical vitamins that improve his attention, vitality and




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sleep. Upon information and belief, such vitamins and preventative care are available at the

adjacent CTF facility.

       Finally, upon information and belief, at CDF, Mr. Sterlingov has not had regular access

to educational programs or the outdoors. Despite attempting to join educational programs, Mr.

Sterlingov has been thus far denied access to the limited education opportunities that exist.

Moreover, Mr. Sterlingov has been denied regular access to the outdoors. An irregular schedule

exists at CDF where Mr. Sterlingov has had limited access to the outdoors for roughly one-hour

every two-weeks or so. Upon information and belief, CTF offers pretrial detainees more

opportunity to access fresh, outside air.

       Upon information and belief, because CDF and CTF are two different facilities located

on the same grounds, and that CDF and CTF are essentially two different wings of the same

facility, and because transfers between the two complexes are a common and regular occurrence,

there will be no quarantine period or additional delays incurred by moving Mr. Sterlingov from

CDF to CTF that will impact his upcoming trial.

                                            CONCLUSION

       The conditions at CDF make it extremely difficult, if not impossible, for Mr. Sterlingov

to effectively prepare for trial and meaningfully participate in his defense. Accordingly, the

Defense respectfully submits that this Court should enter the attached proposed order mandating

Mr. Sterlingov’s transfer to the adjacent CTF facility in advance of his trial.




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Dated: February 1, 2024
Brooklyn, New York


                                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of February 2024, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Michael Hassard

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